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Claudia T. Salomon                                                     53rd at Third
Direct Dial: 212-906-1230                                              885 Third Avenue
claudia.salomon@lw.com                                                 New York, New York 10022-4834
                                                                       Tel: +1.212.906.1200 Fax: +1.212.751.4864
                                                                       www.lw.com

                                                                       FIRM / AFFILIATE OFFICES
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July 6, 2018                                                           Chicago         Paris
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                                                                       Düsseldorf      Rome
VIA ECF AND BY HAND                                                    Frankfurt       San Diego
                                                                       Hamburg         San Francisco
Ms. Angela D. Caesar                                                   Hong Kong       Seoul

Clerk of Court                                                         Houston         Shanghai
                                                                       London          Silicon Valley
U.S. District Court for the District of Colombia                       Los Angeles     Singapore
333 Constitution Ave., NW                                              Madrid          Tokyo
Washington, D.C. 20001                                                 Milan           Washington, D.C.




           Re:              Request for International Service of Process by Mail (Federal Express)
                            pursuant to FRCP 4(f)(2)(c)(ii) and Article 10(a) of the Hague Service
                            Convention on Defendant Kingdom of Spain in Novenergia II – Energy &
                            Environment (SCA) v. Kingdom of Spain, 18-cv-1148-TSC

Dear Ms. Caesar:

        I represent Petitioner in the above-referenced action. I write to respectfully request your
assistance in issuing service of process by mail (via Federal Express) pursuant to the Hague
Convention of 15 November 1965 on the Service Abroad of Judicial and Extrajudicial
Documents in Civil and Commercial Matters (the “Hague Service Convention”), as made
applicable pursuant to 28 U.S.C. § 1608, upon the Respondent, Kingdom of Spain. The
Respondent is located at the following addresses, and we respectfully request that Respondent is
served by mail at both locations:

           F.A.O. Dolores Delgado
           Ministra de Justicia
           Ministerio de Justicia
           San Bernardo, 45
           28015-Madrid
           Spain

           F.A.O Consuelo Castro Rey
           Abogado General del Estado
           Abogacía General del Estado
           Dirección del Servicio Jurídico del Estado
           Ayala 5, First Floor,
           28001-Madrid
           Spain
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          In furtherance of this request, please find enclosed the following:

          1) Two sets of the following documents in English, and two sets in Spanish, to be served
             upon the Respondent:

               a) Petition to Confirm Foreign Arbitral Award (Dkt. No. 1);

               b) Notice of Filing of Petition to Confirm Foreign Arbitral Award (Dkt. No. 1-1);

               c) Summons with accompanying Notice of Right to Consent to Trial Before a United
                  States Magistrate Judge (Dkt. Nos. 1-2, 4);

               d) Civil Cover Sheet (Dkt. No. 1-3);

               e) Proposed Order (Dkt. No. 1-4);

               f) Declaration of Fernando Mantilla-Serrano, with exhibits (Dkt. Nos. 2, 2-1 to 2-
                  3)1;

               g) Corporate Disclosure Statement (Dkt. No. 3); and

               h) Summary of the Documents to Be Served and Warning (from the Hague
                  Convention’s Model Form);

          2) Declaration Requesting Foreign Mailing (Dkt. No. 8).

          3) Two pre-paid, pre-addressed Federal Express labels to be used to forward the
             documents to Respondent; and

          4) Courtesy copies of the Federal Express air bills for your files.

        Please note that service of process by mail upon a defendant in Spain is proper under
Article 10(a) of the Hague Service Convention to which both the U.S. and Spain are parties.
Upon ratification of the Hague Service Convention, Spain did not object to service of process by
mail under Article 10(a). Further, in Water Splash Inc. v. Menon, 137 S.Ct. 1504 (2017), the
Supreme Court held that the Hague Service Convention did not prohibit service by mail.
Therefore, in cases governed by the Hague Service Convention, a party may serve documents in
a foreign country by mail as long as that country authorizes service by mail. Service via Federal
Express is considered to be the equivalent of mail service in most state and federal courts.
Additionally, the Special Commission to the Hague Conference on Private International Law has
concluded “that for the purposes of Article 10(a) the use of a private courier was the equivalent
of a postal channel.” (Conclusions and Recommendations Adopted by the Special Commission
on the Practical Operation of the Hague Apostille, Evidence, and Service Conventions (28

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        Please note that the English text of the Energy Charter Treaty used as Exhibit 2 is from 2080
U.N.T.S. 100, and the Spanish version is the Spanish-language version from the Energy Charter Treaty
website, https://energycharter.org/fileadmin/DocumentsMedia/Legal/ECT-es.pdf.
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October to 4 November 2003), published by the Permanent Bureau of the Hague Conference on
Private International Law (2003)).

      Please feel free to contact me with any questions or concerns. I may be reached at 212-
906-1230.

          Thank you very much for your time and assistance with the above.

                                              Respectfully submitted,




                                              Claudia T. Salomon
                                              (pro hac vice)
                                              of LATHAM & WATKINS LLP

Enclosures (in hard copy only)
